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 9
                      IN THE UNITED STATES DISTRICT COURT
10
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,    )
                                  ) No. CR S-06-0343 DLJ
13                 Plaintiff,     )
                                  ) STIPULATION RE:
14            v.                  ) SENTENCING DATE
                                  )
15   PASERT SOMSINSAWASDI, and    )
     NOY SOMSINSAWASDI,           )
16                                )
                   Defendants.    )
17   _____________________________)

18

19         The United States of America, by its attorney, Benjamin B.

20   Wagner, Assistant United States Attorney, and defendant Prasert

21   Somsinsawasdi, through his attorney Dwight Samuel, and defendant

22   Noy Somsinsawasdi, through her attorney Bruce Locke, hereby

23   jointly request and stipulate that the sentencing hearing

24   currently scheduled for Tuesday, November 6, 2007, be continued

25   one week until Tuesday, November 13, 2007, at 9:00 am.             The reason

26   for the requested continuance is to allow the parties additional

27   time to ensure that forfeiture issues are fully resolved prior to

28   ///

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 1   sentencing.   In addition, Assistant U.S. Attorney Wagner will be

 2   away from Sacramento on November 6th.

 3

 4   SO STIPULATED AND AGREED:

 5       DATED: October 30, 2007              McGREGOR W. SCOTT
                                              United States Attorney
 6
                                             /s/ Benjamin Wagner
 7                                        By:___________________________
                                             BENJAMIN B. WAGNER
 8                                           Assistant U. S. Attorney

 9

10       DATED: October 30, 2007               /s/ Dwight Samuel*
                                              _____________________________
11                                            DWIGHT SAMUEL
                                              Counsel for defendant
12                                            Prasert Somsinsawasdi
                                              *signed with permission, granted
13                                            by telephone, 10/29/07, pm

14

15       DATED: October 30, 2007              /s/ Bruce Locke**
                                              _____________________________
16                                            BRUCE LOCKE
                                              Counsel for defendant
17                                            Noy Somsinsawasdi
                                              **signed with permission,
18                                            granted by telephone, 10/30/07,
                                              am
19

20
         IT IS SO ORDERED:
21

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23
     DATED:   10-31-07                ___________________________
24                                    HON. D. LOWELL JENSEN
                                      United States District Court Judge
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